      Case 2:12-cv-01924-SM-JCW Document 566 Filed 11/27/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA        *                                          CIVIL ACTION
                                *
                                *                                          NO: 12-1924
VERSUS                          *
                                *                                          SECTION: “E”
CITY OF NEW ORLEANS             *
                                *                                          MAG: “2”
                                *
*********************************

                MOTION TO WITHDRAW AND SUBSTITUTE COUNSEL

       The City of New Orleans respectfully moves to withdraw Cherrell S. Taplin (La. Bar No.

28227) as counsel of record for the City in this matter and enroll Donesia D. Turner (La. Bar No.

23338) as additional counsel of record in her place. Cherrell S. Taplin has been notified and does

not object.

                                             Respectfully submitted,

                                             /s/ Churita H. Hansell
                                             CHURITA H. HANSELL, LSB#25694
                                             CHIEF DEPUTY CITY ATTORNEY
                                             DONESIA D. TURNER, LSB#23338
                                             SENIOR CHIEF DEPUTY CITY ATTORNEY
                                             SUNNI J. LEBEOUF, LSB#28633
                                             CITY ATTORNEY
                                             1300 Perdido Street, Ste. 5E03
                                             New Orleans, Louisiana 70112
                                             Telephone: 504-658-9920
                                             Facsimile: 504-658-9868
                                             chhansell@nola.gov
      Case 2:12-cv-01924-SM-JCW Document 566 Filed 11/27/18 Page 2 of 2



                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 27, 2018 I electronically filed the foregoing with the

Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel of

record.


                                              /s/ Churita H. Hansell
                                               CHURITA H. HANSELL
